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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Yury Grenadyor
                                    Plaintiff,
v.                                                       Case No.: 1:21−cv−02980
                                                         Honorable John F. Kness
SN Servicing Corporation
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, June 28, 2022:


        MINUTE entry before the Honorable John F. Kness: Telephonic status hearing
held on 6/28/2022. For the reasons stated on the record, the Court rules on the pending
motions as follows: the motion by counsel to withdraw as attorney [26] is granted; the
response in opposition to the motion to withdraw at docket entry number [27], which
Plaintiff Grenadyor improperly designated in CM/ECF as a motion, is stricken; and
Defendant's motion to dismiss [13] is taken under advisement as fully briefed. Attorney
Joseph S. Davidson is withdrawn as counsel of record for Plaintiff. At this time, Plaintiff
Grenadyor will proceed pro se. In the interest of conserving party resources, and in view
of the pending motion to dismiss [13] that implicates the Court's jurisdiction, the case
remains stayed pending a ruling on the motion to dismiss. Mailed notice(ef, )




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